






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00447-CR






Dana Thompson, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BASTROP COUNTY, 21ST JUDICIAL DISTRICT

NO. 14059, HONORABLE REVA TOWSLEE CORBETT, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Dana Thompson was convicted of aggravated assault with a deadly weapon
and was sentenced to seven years' imprisonment.  Appellant's appointed attorney has filed a brief
concluding that the appeal is frivolous and without merit.

	Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738, 743-44
(1967), by presenting a professional evaluation of the record and demonstrating that there are
no&nbsp;arguable grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders, 386 U.S.
at&nbsp;743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d&nbsp;684, 684 (Tex. Crim. App. 1974); Gainous v. State, 436 S.W.2d 137, 138 (Tex. Crim.
App. 1969).  Appellant's attorney sent appellant a copy of the brief and advised her that she had the
right to examine the record and file a pro se brief.  See Anders, 386 U.S. at 744; Jackson v. State,
485&nbsp;S.W.2d 553, 553 (Tex. Crim. App. 1972).  No pro se brief has been filed.

	We have considered the record, the procedures that were observed by the trial court,
and counsel's brief, and we agree that the appeal is frivolous and without merit.  We grant counsel's
motion to withdraw and affirm the judgment of conviction. (1) 


					___________________________________________

					David Puryear, Justice

Before Justices Puryear, Pemberton and Rose

Affirmed

Filed:   August 25, 2011

Do Not Publish
1.   No substitute counsel will be appointed.  Should appellant wish to seek further review of
her case by the court of criminal appeals, she must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App.
P. 68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the date
this Court overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The
petition must be filed with this Court, after which it will be forwarded to the court of criminal
appeals along with the rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition
for discretionary review should comply with rules 68.4 and 68.5 of the rules of appellate procedure. 
See Tex. R. App. P. 68.4, 68.5.


